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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1135V
                                     Filed: March 21, 2017
                                         UNPUBLISHED

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MARK DAVID LUNDIN,                   *
                                     *
                  Petitioner,        *       Ruling on Entitlement; Concession;
v.                                   *       Influenza;
                                     *       Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                  *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                  *
                                     *
                  Respondent.        *
                                     *
****************************
Paul D. Bekman, Bekman, Marder & Adkins, LLC, Baltimore, MD, for petitioner.
Ann Donohue Martin, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On September 13, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of his September 25, 2013 influenza vaccination.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

        On March 20, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “determined that petitioner’s left shoulder injury is
consistent with SIRVA, and that it was caused in fact by the flu vaccine he received on
September 25, 2013.” Id. at 5. Respondent further agrees that no other cause for
petitioner’s injury was identified, that petitioner suffered sequela of his injury for more

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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than six months, and that petitioner has met the statutory requirements for entitlement
to compensation. Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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